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             1      MARK D. SELWYN, SBN 244180
                      mark.selwyn@wilmerhale.com
             2      THOMAS G. SPRANKLING, SBN 294831
                    thomas.sprankling@wilmerhale.com
             3      WILMER CUTLER PICKERING
                      HALE AND DORR LLP
             4      2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
             5      Tel.: 650.858.6000 / Fax: 650.858.6100
             6      JOSHUA H. LERNER, SBN 220755
                      joshua.lerner@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      One Front Street, Suite 3500
                    San Francisco, CA 94111
             9      Tel.: 628.235.1000 / Fax: 628.235.1001
           10       AMY K. WIGMORE, pro hac vice
                    amy.wigmore@wilmerhale.com
           11       WILMER CUTLER PICKERING
                      HALE AND DORR LLP
           12       2100 Pennsylvania Ave NW
                    Washington, DC 20037
           13       Tel.: 202.663.6000 / Fax: 202.663.6363
           14       [Counsel appearances continue on next page]
           15       Attorneys for Defendant Apple Inc.
           16                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           17
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           18       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  APPLE INC.’S RESPONSE TO
           19       a Delaware corporation,                       PLAINTIFFS’ SUPPLEMENTAL
                                                                  BRIEF REGARDING SPECIAL
           20                          Plaintiffs,                MASTER
           21             v.
                                                                  Judge:          Judge James V. Selna
           22       APPLE INC.,                                   Trial:          11/5/24
                    a California corporation,
           23
                                       Defendant.
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Wilmer Cutler
                          APPLE’S RESPONSE TO PLAINTIFFS’ SUPPLEMENTAL BRIEF REGARDING SPECIAL MASTER
Pickering Hale
and Dorr LLP
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                 1   JOSEPH J. MUELLER, pro hac vice
                 2    joseph.mueller@wilmerhale.com
                     SARAH R. FRAZIER, pro hac vice
                 3    sarah.frazier@wilmerhale.com
                     WILMER CUTLER PICKERING
                 4     HALE AND DORR LLP
                     60 State Street
                 5   Boston, MA 02109
                     Tel.: 617.526.6000 / Fax: 617.526.5000
                 6
                     NORA Q.E. PASSAMANECK, pro hac vice
                 7    nora.passamaneck@wilmerhale.com
                     WILMER CUTLER PICKERING
                 8    HALE AND DORR LLP
                     1225 Seventeenth Street, Suite 2600
                 9   Denver, CO 80202
                     Tel.: 720.274.3152 / Fax: 720.273.3133
           10
                     BRIAN A. ROSENTHAL, pro hac vice
           11         brosenthal@gibsondunn.com
                     GIBSON, DUNN & CRUTCHER LLP
           12        200 Park Avenue
                     New York, NY 10166-0193
           13        Tel.: 212.351.2339 / Fax: 212.817.9539
           14        KENNETH G. PARKER, SBN 182911
                      Ken.parker@haynesboone.com
           15        HAYNES AND BOONE, LLP
                     660 Anton Boulevard, Suite 700
           16        Costa Mesa, CA 92626
                     Tel. 650.949.3014 / Fax: 949.202.3001
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and Dorr LLP                                    CASE NO. 8:20-cv-00048-JVS (JDEX)
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                 1         Plaintiffs are incorrect that determining whether they raised new theories in their
                 2   July 5, 2024 infringement contentions is “now academic” and mooted. See Dkt. 2109.
                 3   If Plaintiffs introduced new theories, as Apple believes, then they should be precluded
                 4   as untimely. Although Apple has been prejudiced by the timing of Plaintiffs’ new
                 5   contentions—e.g., because they were unveiled at the eleventh hour, and thus prevented
                 6   Apple from developing further factual evidence relevant to those contentions—Apple
                 7   need not demonstrate prejudice to prevail on its motion. See, e.g., Facet Techs., LLC v.
                 8   LifesSan, Inc., 2023 WL 5504954, at *2 (C.D. Cal. June 7, 2023) (“The Court may strike
                 9   supplemental contentions containing amendments made without good cause … [and]
            10       need not consider the prejudice question absent a showing of diligence.”). The bottom
            11       line is that the procedures that the Court set for this case required an orderly progression
            12       of events—including contentions timely served. Plaintiffs’ July 5, 2024 contentions
            13       violated those procedures—without any good cause shown— and should be stricken.
            14             As noted in Apple’s Notice (Dkt. 2108), Apple is confident in the Court’s ability
            15       to determine for itself whether the July 5, 2024 contentions introduce new theories and
            16       is happy for the Court to resolve the dispute to the extent that it no longer wishes for the
            17       parties to seek the assistance of a special master. Apple is likewise happy to continue to
            18       find an appropriate candidate for special master. In short, the question of the extent to
            19       which Plaintiffs’ contentions are new—and therefore should be stricken—remains a live
            20       question, and Apple defers to the Court as to its preference in process for resolving that
            21       question.
            22
            23                                                 Respectfully submitted,
            24
                      Dated: September 16, 2024                By: /s/ Mark D. Selwyn
            25                                                     Mark D. Selwyn
            26                                                     Joshua H. Lerner
                                                                   Nora Passamaneck
            27                                                     WILMER CUTLER PICKERING
            28                                                     HALE AND DORR LLP

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                 1                                               Kenneth G. Parker
                 2                                               HAYNES AND BOONE, LLP

                 3                                               Brian A. Rosenthal
                                                                 GIBSON, DUNN & CRUTCHER LLP
                 4
                 5                                               Attorneys for Defendant Apple Inc.

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